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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:14-CR-3085

vs.                                                  AMENDED
                                                 TENTATIVE FINDINGS
GARY A. GOFF,

                 Defendant.

       The Court has received the revised presentence investigation report in
this case. The defendant has moved for a downward departure or variance
(filing 225) and objected to the presentence report (filing 227).

      IT IS ORDERED:

1.    The Court will consult and follow the Federal Sentencing Guidelines to
      the extent permitted and required by United States v. Booker, 543 U.S.
      220 (2005) and subsequent cases. In this regard, the Court gives notice
      that, unless otherwise ordered, it will:

      (a)   give the advisory Guidelines respectful consideration within the
            context of each individual case and will filter the Guidelines'
            advice through the 18 U.S.C. § 3553(a) factors, but will not afford
            the Guidelines any particular or "substantial" weight;

      (b)   resolve all factual disputes relevant to sentencing by the greater
            weight of the evidence and without the aid of a jury;

      (c)   impose upon the United States the burden of proof on all
            Guidelines enhancements;

      (d)   impose upon the defendant the burden of proof on all Guidelines
            mitigators;

      (e)   depart from the advisory Guidelines, if appropriate, using pre-
            Booker departure theory; and
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       (f)    in cases where a departure using pre-Booker departure theory is
              not warranted, deviate or vary from the Guidelines when there is
              a principled reason justifying a sentence different than that
              called for by application of the advisory Guidelines, again without
              affording the Guidelines any particular or "substantial" weight.

2.     The defendant has moved for a downward departure or variance1 (filing
       225). The defendant moves for a departure on several grounds. In
       addressing each of these grounds, the Court is mindful of the fact that a
       defendant bears the burden of proving the appropriateness of a
       downward departure. United States v. Cantu, 12 F.3d 1506, 1511 (9th
       Cir. 1993).

       (a)    The defendant's first basis for departure is that he was "truthful
              and honest to law enforcement." Filing 226 at 6. But the
              Sentencing Guideline the defendant cites in support of departure,
              U.S.S.G. § 5K2.16, does not appear to apply here. That section
              permits a departure when a defendant "voluntarily discloses to
              authorities the existence of, and accepts responsibility for, the
              offense prior to the discovery of such offense, and if such offense
              was unlikely to have been discovered otherwise[.]" Id. It expressly
              does not apply "where the defendant's disclosure occurs in
              connection with the investigation or prosecution of the defendant
              for related conduct." Id.

              The defendant contends that he was truthful "[w]hen initially
              contacted by law enforcement at his home," which means—unless
              he was being contacted with respect to a completely different
              offense—that § 5K2.16 does not apply. The defendant's
              cooperation with the investigation is more properly accounted for
              by a reduction in the offense level for acceptance of responsibility.

1 In sentencing a defendant, the Court must first determine the advisory sentencing range

as recommended by the Guidelines. Next, the Court must decide if any applicable
Guidelines provisions permit a traditional "departure" from the recommended sentencing
range. The term "departure" is a term of art under the Guidelines and refers only to non-
Guidelines sentences imposed under the framework set out in the Guidelines. The
calculation of the initial advisory Guidelines range, along with any applicable departures,
results in a final advisory Guidelines sentencing range. Then, in determining the actual
sentence that should be imposed, the Court must consider whether the factors in § 3553(a)
justify a "variance" outside the final advisory Guidelines sentencing range. As opposed to a
"departure," a "variance" refers to a non-Guidelines sentence based on the factors
enumerated in § 3553(a). United States v. Lozoya, 623 F.3d 624, 625-26 (8th Cir. 2010).


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           See United States v. Roberts, 313 F.3d 1050, 1055 (8th Cir. 2002).
           And the Court may not depart on the basis of acceptance of
           responsibility. § 5K2.0(d)(2). Therefore, the Court's tentative
           finding is that a departure on the basis of § 5K2.16 is not
           warranted.

     (b)   The defendant's second basis for departure is a reduced mental
           capacity. Filing 226 at 6-8. A downward departure may be
           warranted if (1) the defendant committed the offense while
           suffering from a significantly reduced mental capacity; and (2)
           the significantly reduced mental capacity contributed
           substantially to the commission of the offense. U.S.S.G. § 5K2.13.
           "Significantly reduced mental capacity" means the defendant,
           although convicted, has a significantly impaired ability to (A)
           understand the wrongfulness of the behavior comprising the
           offense or to exercise the power of reason; or (B) control behavior
           that the defendant knows is wrongful. § 5K2.13 cmt. n.1. The
           defendant argues that his "diminished intelligence" warrants a
           departure. The Court will resolve this contention on the evidence
           presented at sentencing.

     (c)   The defendant's third basis for departure is the impact of a
           sentence of imprisonment on his dependents. Filing 226 at 8-9.
           Family ties and responsibilities are not ordinarily relevant in
           determining whether a departure may be warranted. U.S.S.G. §
           5H1.6. However, extraordinary family circumstances, i.e., outside
           of the "heartland" of cases the Guidelines were intended to cover,
           can be the basis for a downward departure. United States v.
           Haversat, 22 F.3d 790, 797 (8th Cir. 1994); see United States v.
           Bueno, 549 F.3d 1176, 1181 (8th Cir. 2008). The defendant relies
           upon the care he helps provide for his elderly father-in-law. The
           Court will determine, based upon the evidence presented at
           sentencing, whether a departure on this basis is warranted.

     (d)   Finally, the defendant argues that even if none of those
           circumstances are independently sufficient to merit a departure,
           they warrant a departure when taken together. Filing 226 at 9-
           10. U.S.S.G. § 5K2.0(c) allows the consideration of characteristics
           or other circumstances, even if not ordinarily relevant to a
           determination of whether a departure is warranted, if such
           characteristics or circumstances are present to a substantial


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           degree, and if taken together they make the case an exceptional
           one. The Court will resolve this argument at sentencing.

     The defendant also argues for a variance from the Guidelines range,
     based upon his personal circumstances and the § 3553(a) factors,
     including his minimal criminal history, and his failure to reoffend and
     efforts to rehabilitate himself, Filing 226 at 10-12. He also contends
     that the amount of pseudoephedrine for which he is being held
     responsible overstates his role in the offense, because he purchased
     much of it for personal use. Filing 226 at 12-14. The Court will resolve
     this issue at sentencing.

3.   The defendant has also objected to the presentence report (filing 227).
     His objections are generally twofold.

     (a)   First, the defendant objects to the amount of pseudoephedrine for
           which he is held responsible in the presentence report. Filing 228
           at 4-6. He argues that he did not join the conspiracy until 2010,
           and any purchases made before then were for personal use. Filing
           228 at 5. And he argues that the underlying evidence does not
           support the presentence report's findings regarding his number of
           pseudoephedrine purchases or the amount of the drug involved.
           Filing 228 at 5-6.

           At sentencing, the government has the burden of proof on
           disputed facts, and generally must satisfy a preponderance of the
           evidence standard. United States v. Russell, 234 F.3d 404, 408
           (8th Cir. 2000). So, if the defendant objects to any of the factual
           allegations contained in the presentence report on an issue on
           which the government has the burden of proof, such as the base
           offense level and any enhancing factors, the government must
           present evidence at the sentencing hearing to prove the existence
           of the disputed facts. United States v. Poor Bear, 359 F.3d 1038,
           1041 (8th Cir. 2004). Accordingly, the Court will resolve this
           objection on the evidence presented at sentencing.

     (b)   The defendant also contends that he should receive a two-level
           decrease in the offense level based on "safety valve" eligibility.
           Filing 228 at 6-8. See, U.S.S.G. §§ 2D1.1(b)(17) and 5C1.2(a).
           However, the presentence report indicates that the government
           has not provided information indicating that the defendant has
           satisfied the safety valve criteria, particularly the truthful


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              provision to the government of all information concerning the
              offense.

              The defendant relies upon information he provided to Lancaster
              County authorities during a non-custodial interview, despite a
              later failure to cooperate. Filing 228 at 7-8. But the defendant
              has the burden to show affirmatively that he has satisfied each
              requirement for the safety value, including whether truthful
              information and evidence have been given to the government.
              United States v. Alvarado-Rivera, 412 F.3d 942, 947 (8th Cir.
              2005). The Court will resolve this issue based upon the evidence
              presented at sentencing.2

4.     Except to the extent, if any, that the Court has sustained an objection,
       granted a motion, or reserved an issue for later resolution in the
       preceding paragraph, the parties are notified that the Court's tentative
       findings are that the presentence report is correct in all respects.

5.     If any party wishes to challenge these tentative findings, that party
       shall, as soon as possible (but in any event no later than three (3)
       business days before sentencing) file with the Court and serve upon
       opposing counsel an objection challenging these tentative findings,
       supported by a brief as to the law and such evidentiary materials as are
       required, giving due regard to the local rules of practice governing the
       submission of evidentiary materials. If an evidentiary hearing is
       requested, such filings should include a statement describing why a
       hearing is necessary and how long such a hearing would take.

6.     Absent timely submission of the information required by the preceding
       paragraph, the Court's tentative findings may become final and the
       presentence report may be relied upon by the Court without more.

7.     Unless otherwise ordered, any objection challenging these tentative
       findings shall be resolved at sentencing.




2 The Court also notes that the safety valve is available so long as the government receives

the information no later than the time of the sentencing hearing, even if a defendant's last-
minute move to cooperate is a complete about-face. Deltoro-Aguilera v. United States, 625
F.3d 434, 437 n.3 (8th Cir. 2010); see also, Morones, 181 F.3d at 891; United States v.
Tournier, 171 F. 3d 645, 646-47 (8th Cir. 1999).


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     Dated this 6th day of November, 2015.


                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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